               Case 2:19-cv-00998-BJR Document 74 Filed 10/02/20 Page 1 of 3




                                                               The Honorable Barbara J. Rothstein
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7
                                UNITED STATES DISTRICT COURT
8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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10
     CHERYL BAIR, an individual,                      NO. C19-998-BJR

11                               Plaintiff,           JOINT STIPULATION AND
            vs.                                       ORDER DISMISSING CLAIMS AGAINST
12                                                    DEFENDANT CHICARA CHESNEY
     SNOHOMISH COUNTY, et al.,
13
                                Defendants.
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            COMES NOW Defendants Snohomish County, Olyntia Sewell, Jodi Martin, Taylor
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     Jones, Robert Ogawa, Scott Lewis, Scott Warnken, and Chicara Chesney, by and through their
18
     counsel of record, Deputy Prosecuting Attorneys Katherine H. Bosch and Bridget E. Casey; and
19

20   Defendant Hamadi Sisawo, by and through his counsel of record, Jennifer Smitrovich and Emory

21   Wogenstahl; and Plaintiff, by and through her counsel of record, Darryl Parker, and stipulate to
22
     the following:
23
            (1) Dismissal of all Plaintiff’s claims against Defendant Chicara Chesney only.
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     JOINT STIPULATION AND ORDER DISMISSING CLAIMS                           SNOHOMISH COUNTY
     AGAINST DEFENDANT CHICARA CHESNEY - 1                        PROSECUTING ATTORNEY - CIVIL DIVISION
                                                                     Robert J. Drewel Bldg., 8th Floor, M/S 504
     C19-998-BJR
                                                                               3000 Rockefeller Ave
                                                                      EVERETT, WASHINGTON 98201-4060
                                                                        (425)388-6330/FAX: (425)388-6333
               Case 2:19-cv-00998-BJR Document 74 Filed 10/02/20 Page 2 of 3




     DATED this 2nd day of October 2020.             DATED this 2nd day of October 2020.
1

2    FAIN ANDERSON VanDERHOEF                        ADAM CORNELL
     ROSENDAHL O’HALLORAN                            Snohomish County Prosecuting Attorney
3    SPILLANE, PLLC
4
     By: __/s/ Emory C. Wogenstahl____               By: _ /s/ Katherine Bosch ___________
5    JENNIFER SMITROVICH, WSBA                       BRIDGET CASEY, WSBA # 30459
     #37062                                          KATHERINE BOSCH, WSBA #43122
6    EMORY C. WOGENSTAHL, WSBA                       Deputy Prosecuting Attorneys
     #53864                                          Attorney for Defendants Snohomish County,
7
     Attorneys for Defendant Hamadi Sisawo           Olyntia Sewell, Jodi Martin, Taylor Jones,
8                                                    Robert Ogawa, Scott Lewis, Scott Warnken,
                                                     and Chicara Chesney
9

10   DATED this 2nd day of September, 2020.

11   CIVIL RIGHTS JUSTICE CENTER, PLLC
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13   By: ___/s/ Darryl Parker___________
     DARRYL PARKER, WSBA #30770
14   Attorney for Plaintiff
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     JOINT STIPULATION AND ORDER DISMISSING CLAIMS                           SNOHOMISH COUNTY
     AGAINST DEFENDANT CHICARA CHESNEY - 2                        PROSECUTING ATTORNEY - CIVIL DIVISION
                                                                     Robert J. Drewel Bldg., 8th Floor, M/S 504
     C19-998-BJR
                                                                               3000 Rockefeller Ave
                                                                      EVERETT, WASHINGTON 98201-4060
                                                                        (425)388-6330/FAX: (425)388-6333
               Case 2:19-cv-00998-BJR Document 74 Filed 10/02/20 Page 3 of 3




                                                     ORDER
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2           IT IS SO ORDERED that the parties’ Joint Stipulation dismissing claims against

3    Defendant Chicara Chesney is APPROVED and GRANTED.
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            DATED this 2nd day of October, 2020.
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                                                     _________________________________________
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                                                     HONORABLE BARBARA J. ROTHSTEIN
8
                                                     United States District Court Judge

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     JOINT STIPULATION AND ORDER DISMISSING CLAIMS
     AGAINST DEFENDANT CHICARA CHESNEY - 3
     C19-998-BJR
